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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

 Civil Action No. 20-cv-01318-NYW

 ALL PLASTIC, INC.,

        Plaintiff,

 v.

 SAMDAN LLC, d/b/a SMOKUS FOCUS, a/b/a SMOKUSFOCUS.COM,
 SAMUEL WHETSEL, individually and as a member of SamDan LLC, and
 DANIEL RUSSELL-EINHORN, individually and as a member of SamDan LLC,

        Defendants.
 ______________________________________________________________________________
                                   ORDER TO SHOW CAUSE

 Magistrate Judge Nina Y. Wang

        This matter comes before the court sua sponte pursuant to 28 U.S.C. § 636(c); the consent

 of the Parties for all purposes [Doc. 23]; and the Order of Reference [Doc. 24]. This court granted

 the Motion to Withdraw as Counsel for Defendants on November 5, 2021. See [Doc. 135; Doc.

 136; Doc. 139; Doc. 145]. As explained to Defendants Samuel Whetsel (“Defendant Whetsel” or

 “Mr. Whetsel”) and Daniel Russell-Einhorn (“Defendant Russell-Einhorn” or “Mr. Russell-

 Einhorn,” collectively with Defendant SamDan, LLC and Mr. Whetsel, “Defendants”) during the

 Telephonic Status Conference on November 5, 2021 [Doc. 139], Defendant SamDan LLC

 (“SamDan”) may not proceed without an attorney. Harrison v. Wahatoyas, L.L.C., 253 F.3d 552,

 556 (10th Cir. 2001) (citing Flora Constr. Co. v. Fireman's Fund Ins. Co., 307 F.2d 413, 414 (10th

 Cir. 1962) (“The rule is well established that a corporation can appear in a court of record only by

 an attorney at law.”). In addition, pursuant to D.C.COLO.LAttyR 5(b), a corporation, partnership,

 or other legal entity “may not appear without counsel admitted to the bar of this court.”
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        On January 31, 2022, this court entered an Order in which it noted that counsel for

 Defendants were permitted to withdraw their representation for Defendants on November 5, 2021,

 see [Doc. 139], “but no counsel has entered an appearance on behalf of SamDan.” [Doc. 148 at

 1]. Accordingly, the court ordered (1) counsel for SamDan to enter an appearance and (2)

 Defendants to show cause “as to why the court should not enter default and/or default judgment

 against all Defendants for failure to defend” on or before February 11, 2022. [Id. at 2]. The

 undersigned explained to Defendants that “[t]his court cannot proceed with this action without

 participation by Defendants.” [Id.].

        On February 11, 2022, Plaintiff filed a Notice of Settlement and Unopposed Motion for

 Extension of Time (“Notice”) [Doc. 149]. In the Notice, Plaintiff represented that (1) “the Parties

 have reached a settlement agreement in principle,” and (2) “[t]he Parties anticipate filing a Motion

 for Stipulated Judgment within the next 30 days,” [Doc. 149 at 1], and requested that the court

 extend by 30 days the deadlines for counsel for Defendants to enter an appearance and respond to

 the show cause Order, up to and including March 14, 2022, [id.]. The court subsequently granted

 Plaintiff’s requests in the Notice and reset the deadline for Defendants to respond to the Show

 Cause Order to March 14, 2022. See [Doc. 150]. Despite this court’s advisements and the

 extension of time, to date, counsel for SamDan still has yet to enter an appearance, and the court’s

 docket does not reflect that Defendants filed a response to the court’s Show Cause Order by the

 deadline to do so.

        On February 15, 2022, Plaintiff filed an Unopposed Motion for Stipulated Order for

 Permanent Injunction and Judgment of Validity and Infringement [Doc. 152], wherein Plaintiff

 asserts that “[a]s part of this settlement, All Plastic and Defendants agreed to the entry of the




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 Proposed Stipulated Order for Permanent Injunction and Judgment of Validity and Infringement.” 1

 [Doc. 152 at 1]; see also [Doc. 154]. That motion remains pending before the court. Defendants

 Whetsel and Einhorn, as individuals, may proceed pro se. [Doc. 145]. The court notes that Samuel

 Whetsel has signed on behalf of SamDan LLC. [Doc. 152 at 3[]. But because SamDan is an

 unrepresented entity, this court cannot simply accept the representation that SamDan agrees to the

 entry of the Proposed Stipulated Order for Permanent Injunction and Judgment of Validity and

 Infringement. Nor does this court find that requiring Plaintiff to seek an entry of default against

 SamDan, and then file an additional motion for default judgment seeking entry of the same relief

 subject to the Proposed Stipulated Order for Permanent Injunction and Judgment of Validity and

 Infringement, an efficient use of the Parties’ or the court’s resources.

        As the court cautioned Defendants in the Show Cause Order, the United States Court of

 Appeals for the Tenth Circuit Court has held that:

        A district court undoubtedly has discretion to sanction a party for failing to
        prosecute or defend a case, or for failing to comply with local or federal rules. Such
        sanctions may include dismissing the party’s case with prejudice or entering
        judgment against the party. But dismissal or other final disposition of a party’s
        claim is a severe sanction reserved to the extreme case, and is only appropriate
        where lesser sanction would not serve the ends of justice. In applying such a
        sanction, the district court must consider: (1) the degree of actual prejudice to the
        opposing party; (2) the amount of interference with the judicial process; and (3) the
        culpability of the litigant. Only when these aggravating factors outweigh the
        judicial system’s strong predisposition to resolve cases on their merits is outright
        dismissal with prejudice an appropriate sanction.

 Reed v. Bennett, 312 F.3d 1190, 1995 (10th Cir. 2002) (internal quotation and citation omitted).

        Therefore, IT IS ORDERED that:

        (1)     On or before March 22, 2022, Defendant SamDan shall SHOW CAUSE as to



 1
   The court requested, and Plaintiff provided, a Proposed Stipulated Order for Permanent
 Injunction and Judgement [sic] of Validity and Infringement on March 7, 2022. See [Doc. 153;
 Doc. 154].
                                                   3
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            why the court should not sanction them for failing to defend and failing to comply

            with this court’s Orders by entering the Proposed Stipulated Order for Permanent

            Injunction and Judgement of Validity and Infringement [Doc. 154];

      (2)   Defendant SamDan LLC is specifically ADVISED that failure to respond to

            the Order to Show Cause may result in the entry of a permanent injunction

            and judgment of validity and infringement in the form submitted by Plaintiff,

            or in a form as amended by the court; and

      (3)   A copy of this Order shall be mailed to:

                   Samuel Whetsel
                   1541 N. Marion Street, Unit 300519
                   Denver, Colorado 80218

                   Daniel Russell-Einhorn
                   1025 Ashley Avenue
                   Charleston, South Carolina 29403; and

                   SamDan LLC d/b/a Smokus Focus
                   1541 N. Marion Street, Unit 300519
                   Denver, Colorado 80218



 DATED: March 15, 2022                           BY THE COURT:

                                                 ____________________________
                                                 Nina Y. Wang
                                                 United States Magistrate Judge




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